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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                   CASE NO. 1:15-cv-24052- JEM

  NATIONAL CASUALTY COMPANY, a
  Wisconsin Corporation,

         Plaintiff,

  vs.

  UNITED STATES ADULT SOCCER
  ASSOCIATION, INC. a Tennessee
  Corporation, MIGUEL MESA, an individual,
  MIAMI UNITED SOCCER CLUB, LLC., a
  Florida Limited Liability Company,
  ROBERTO SACCA, an individual, and
  RUBEN QUETGLAS, an individual,

        Defendants.
  ____________________________________/

   DEFENDANTS UNITED STATES ADULT SOCCER ASSOCIATION, INC.’S; MIGUEL
     MESA’S; MIAMI UNITED SOCCER CLUB, LLC’S; AND ROBERTO SACCA’S
        ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF NATIONAL
      CASUALTY COMPANY’S COMPLAINT FOR DECLARATORY JUDGMENT

         Defendants United States Adult Soccer Association, Inc. (“USASA”); Miguel Mesa

  (“Mesa”); Miami United Soccer Club, LLC (“Miami United”); and Roberto Sacca (“Sacca”),

  (collectively referred to herein as the “Association Defendants”), by and through undersigned

  counsel and pursuant to the Federal Rules of Civil Procedure, serve their answer and affirmative

  defenses to Plaintiff National Casualty Company’s complaint for declaratory relief and state as

  follows:

                                             ANSWER

         1.      The Association Defendants are without knowledge of the truthfulness of the

  allegations contained in this paragraph.
                                    Hudson & Calleja, LLC
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         2.      The Association Defendants admit the allegations contained in this paragraph.

         3.      The Association Defendants admit the allegations contained in this paragraph.

         4.      The Association Defendants admit the allegations contained in this paragraph.

         5.      The Association Defendants admit the allegations contained in this paragraph.

         6.      The Association Defendants are without knowledge of the truthfulness of the

  allegations contained in this paragraph.

         7.      The Association Defendants admit that this Court has jurisdiction over this matter.

         8.      The Association Defendants admit that venue is proper in the Southern District of

  Florida.

         9.      The Association Defendants admit that Plaintiff has filed a claim for declaratory

  relief. The Association Defendants deny that Plaintiff is entitled to the relief that it seeks.

         10.     The Association Defendants admit that Plaintiff has filed a claim for declaratory

  relief. The Association Defendants deny that Plaintiff is entitled to the relief that it seeks.

         11.     The Association Defendants admit the allegations contained in this paragraph.

         12.     The Association Defendants admit the allegations contained in this paragraph.

         13.     To the extent Plaintiff is repeating the allegations in the amended complaint filed

  in the underlying action, the Association Defendants refer to the amended complaint itself, rather

  than Plaintiff’s paraphrased summary, as the best evidence of the amended complaint’s contents.

  To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the amended

  complaint, the Association Defendants deny Plaintiff’s characterization of the amended

  complaint’s content and state that the precise language of the amended complaint, as an exhibit

  to Plaintiff’s complaint, should govern.



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          40.     The Association Defendants’ admit that Plaintiff had a waiver form.

          41.     The Association Defendants admit that the form Mr. Quetglas signed was not

   technically the same form issued by National Casualty but deny that the form Mr. Quetglas

   signed is substantively different from or provides any substantive additional protections, benefits

   or rights to Plaintiff; therefore, the form Mr. Quetglas signed should be considered the equivalent

   to National Casualty’s waiver thereby resulting in substantial compliance by the Association

   Defendants with respect to the waiver provision in the policies and endorsements at issue, and

   National Casualty was not and has not been prejudiced by the use of the waiver signed by Mr.

   Quetglas.

          42.     The Association Defendants admit the allegations in this paragraph.

          43.     The Association Defendants admit the allegations in this paragraph.

          44.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

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          58.     The Association Defendants adopt and reallege all responses to paragraphs 1-57

   of Plaintiff’s complaint.

          59.     The Association Defendants deny that any actual, present or existing controversy

   exists with respect to Plaintiff’s obligations under either the primary policy or excess policy and

   state that Plaintiff has a clear duty to defend and indemnify the Association Defendants in the

   underlying lawsuit brought against them by Mr. Quetglas.
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          60.     The Association Defendants admit that Plaintiff is seeking declaratory relief but

   deny that any actual, present or existing controversy exists with respect to Plaintiff’s obligations

   under either the primary policy or excess policy and state that Plaintiff has a clear duty to defend

   and indemnify the Association Defendants in the underlying lawsuit brought against them by Mr.

   Quetglas.

          61.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          62.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          63.     The Association Defendants deny the allegations in this paragraph.

          64.     The Association Defendants deny the allegations in this paragraph.

          65.     The Association Defendants deny the allegations in this paragraph.



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          66.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          67.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          68.     The Association Defendants’ admit that Plaintiff had a waiver form.

          69.     The Association Defendants admit that the form Mr. Quetglas signed was not

   technically the same form issued by National Casualty but deny that the form Mr. Quetglas

   signed is substantively different from or provides any substantive additional protections, benefits

   or rights to Plaintiff; therefore, the form Mr. Quetglas signed should be considered the equivalent

   to National Casualty’s waiver thereby resulting in substantial compliance by the Association

   Defendants with respect to the waiver provision in the policies at issue, and National Casualty

   was not and has not been prejudiced by the use of the waiver signed by Mr. Quetglas.



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           70.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

           71.     The Association Defendants admit that the form Mr. Quetglas signed was not

   technically the same form issued by National Casualty but deny that the form Mr. Quetglas

   signed is substantively different from or provides any substantive additional protections, benefits

   or rights to Plaintiff; therefore, the form Mr. Quetglas signed should be considered the equivalent

   to National Casualty’s waiver thereby resulting in substantial compliance by the Association

   Defendants with respect to the waiver provision in the policies at issue, and National Casualty

   was not and has not been prejudiced by the use of the waiver signed by Mr. Quetglas. The

   Association Defendants deny Plaintiff’s allegation that this was not an “isolated incident”.

           72.     The Association Defendants deny the allegations in this paragraph and demand

   strict proof thereof.

           73.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the



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   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

           74.     The Association Defendants deny the allegations in this paragraph.

           75.     The Association Defendants deny knowledge as to what Plaintiff understands and

   state that Mr. Quetglas was not a “player” as defined under any insuring agreement and,

   therefore, no requirement to obtain participant accident insurance existed.

           76.     The Association Defendants admit no participant accident insurance was in force

   because Mr. Quetglas was not a “player” as defined under any insuring agreement and, therefore,

   no requirement to obtain participant accident insurance existed.

           77.     The Association Defendants deny the allegations in this paragraph and demand

   strict proof thereof.

           78.     The Association Defendants deny the allegations in this paragraph and demand

   strict proof thereof.

           79.     The Association Defendants deny the allegations in this paragraph and demand

   strict proof thereof.

           80.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

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   endorsements, as exhibits to Plaintiff’s complaint, should govern.



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          81.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          82.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          83.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          84.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather
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   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          85.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

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   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          86.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the

   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

          87.     To the extent Plaintiff is repeating the allegations in the referenced policy and

   endorsements, the Association Defendants refer to the policy and endorsement themselves, rather

   than Plaintiff’s paraphrased summary, as the best evidence of the policy’s and endorsement’s

   contents. To the extent Plaintiff mischaracterizes or otherwise misstates the contents of the
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   policy and endorsements, the Association Defendants deny Plaintiff’s characterization of the

   policy’s and endorsement’s contents and state that the precise language of the policy and

   endorsements, as exhibits to Plaintiff’s complaint, should govern.

           88.     The Association Defendants deny the allegations in this paragraph and demand

   strict proof thereof.

           89.     No specific allegations are raised in this paragraph; therefore, no response is

   required. To the extent Plaintiff attempts to circumvent its obligation to provide coverage to the

   Association Defendants on some ground not identified in the complaint, Plaintiff is barred from

   doing so based on its failure to timely raise any additional coverage defense.

                                          GENERAL DENIAL

           The Association Defendants deny all allegations in the complaint not expressly admitted

   herein, including those contained in the “Wherefore” clause and denies that Plaintiff is entitled to

   any of the relief sought in the “Wherefore” clause or elsewhere in the complaint.

                                     AFFIRMATIVE DEFENSES

           1.      National Casualty has failed to state a valid cause of action under the Declaratory

   Judgment Act, 28 U.S.C. § 2201 et. seq. or Federal Rule of Civil Procedure 57. National Casualty

   owes coverage and a duty to defend the Association Defendants under its Primary Policy based on

   the allegations of Mr. Quetglas’s underlying complaint and based on the actual facts surrounding Mr.

   Quetglas’s incident. National Casualty’s indemnity obligations under its Excess Policy are not

   triggered until the exhaustion of the policy limits of the Primary Policy (which has not yet occurred),

   and National Casualty’s duty to indemnify depends on facts which have not yet been established in

   the Underlying Lawsuit; thus, no ripe or actual case or controversy exists under the Declaratory

   Judgment Act.

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          2.       National Casualty may not circumvent its obligations under its policies because the

   Primary and Excess Policy provisions upon which National Union bases its request for declaratory

   relief in this action are subject to more than one reasonable interpretation and, therefore, are

   ambiguous and unenforceable as they must be construed against National Casualty.

          3.       The Association Defendants have complied, or at least substantially complied with all

   conditions precedent necessary to invoke coverage under the Primary Policy and Excess Policy, as

   required under applicable law.

          4.       The use of the waiver Mr. Quetglas signed was an “isolated occurrence” as more

   than 250,000 individuals play under the USASA and Plaintiff has identified only one occasion

   (Mr. Quetglas) when the precise National Casualty waiver was not used.

          5.       The waiver Mr. Quetglas signed is legal and enforceable and confers the same

   rights and benefits on National Union as the waiver National Union suggested to be used;

   therefore, the use of the waiver Mr. Quetglas signed satisfies the Association Defendants’

   obligations under the policies and endorsements at issue.

          6.       Mr. Quetglas was not a “player” as defined by the policies and endorsements at

   issue; therefore, no obligation to obtain participant accident insurance existed and National

   Casualty may not deny or limit coverage by misclassifying him as such.

          7.       National Union is barred from denying coverage based on the doctrines of waiver

   and estoppel.

          8.       Mr. Quetglas was not a “participant” as defined under the policies and

   endorsements; therefore, National Casualty may not deny or limit coverage by misclassifying

   him as such.



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          9.     Mr. Quetglas was not injured in a “restricted area” as defined under the policies

   and endorsements; therefore, National Casualty may not deny or limit coverage by

   misclassifying him as such.

          The Association Defendants reserve the right to amend their Affirmative Defenses as

   discovery progresses.

                                  DEMAND FOR JURY TRIAL

          The Association Defendants demand trial by jury on all matters so triable.

                                        Respectfully submitted,
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                                        Counsel for the Association Defendants
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                                           CERTIFICATE OF SERVICE

           I hereby certify that on February 8, 2016, I electronically filed the foregoing document with

   the Clerk of the Courts using CM/ECF. I also certify that the foregoing document is being served

   this day on all counsel of record or pro se parties identified on the attached Service List in the manner

   specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

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